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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MASSACHUSETTS


FRANK CARNAZZA, derivatively on behalf
of INSULET CORPORATION

                    Plaintiff,

        v.

DUANE M. DESISTO, PATRICK J.
SULLIVAN, CHARLES T. LIAMOS, BRIAN
K. ROBERTS, ALLISON DORVAL, JOHN
A. FALLON, SALLY W. CRAWFORD,                             Civil Action No. 17-11977-MLW
TIMOTHY J. SCANNELL, STEVEN T.
SOBIESKI, REGINA O. SOMMER, JOSEPH                        ORAL ARGUMENT REQUESTED
S. ZAKRZEWSKI, DAVID A. LEMOINE,
and JESSICA HOPFIELD,

                    Defendants,

             and

INSULET CORPORATION,

                    Nominal Defendant.



                        DEFENDANTS’ MOTION TO DISMISS
               THE VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

        Pursuant to Federal Rules of Civil Procedure 23.1(b) and 12(b)(6), Defendants Duane M.

DeSisto, Patrick J. Sullivan, Charles T. Liamos, Brian K. Roberts, Allison Dorval, John A.

Fallon, Sally W. Crawford, Timothy J. Scannell, Steven T. Sobieski, Regina O. Sommer, Joseph

S. Zakrzewski, David A. Lemoine, Jessica Hopfield, and Nominal Defendant Insulet Corporation

(“Defendants”) move to dismiss the Verified Shareholder Derivative Complaint (“Complaint”) in

its entirety and with prejudice. As grounds for this Motion, Defendants state as follows:




ACTIVE/93598473.1
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       The Complaint should be dismissed for the reasons stated in the Memorandum of Law in

Support of Defendants’ Motion to Dismiss the Verified Shareholder Derivative Complaint and

the Declaration of Caroline H. Bullerjahn in Support of Defendants’ Motion to Dismiss the

Verified Shareholder Derivative Complaint, along with accompanying exhibits.

       WHEREFORE, Defendants respectfully request that this Court issue an Order dismissing

the Complaint in its entirety and with prejudice, and granting such other and further relief as the

Court deems just and proper.

                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Defendants request oral argument on their Motion to

Dismiss the Verified Shareholder Derivative Complaint.



Dated: December 11, 2017                              Respectfully submitted,

                                                      Defendants

                                                      By their attorneys,

                                                      /s/ Caroline H. Bullerjahn
                                                      Deborah S. Birnbach (SBN 628243)
                                                      Caroline H. Bullerjahn (SBN 657241)
                                                      Katherine G. McKenney (SBN 660621)
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                                                      Counsel for Defendants
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      LOCAL RULE 7.1(A)(2) CERTIFICATE AND CERTIFICATE OF SERVICE

       I, Caroline H. Bullerjahn, hereby certify that counsel for the parties conferred concerning
the subject of this motion prior to filing, but were unable to resolve or narrow the issues in
dispute.

        I further certify that a copy of the foregoing Defendants’ Motion to Dismiss the Verified
Shareholder Derivative Complaint, filed through the CM/ECF system, will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on December
11, 2017.


Dated: December 11, 2017                             /s/ Caroline H. Bullerjahn
                                                     Caroline H. Bullerjahn
